Case 1:22-cr-00102-JDB Document 46 Filed 02/08/23 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Case No.: 22-DR-102 (JDB)

Plaintiff District Judge John D. Bates

Vv. 40 U.S.C. §5104(e) (2) (G)

MELANTE LANHAM,
AKA MELANIE ARCHER

Defendant

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AUTHORIZATION AND CONSENT PURSUANT TO FED. R. CRIM. P. 43 (B) (2)
Defendant MELANIE LANHAM A/K/A MELANIE ARCHER, by and through the
undersigned counsel, Joseph Patrick Murphy, does hereby authorize and
consent to the conduct of her sentencing hearing over Zoom and without
her physical presence in the Courtroom where said sentencing hearing

will be conducted.

Respectful mitted,

2 [a/23_

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